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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                        :
                                                 :
           v.                                    :           CR NO. 21-112 (CJN)
                                                 :
DAVID CHARLES MISH, JR.,                         :
                                                 :
                  Defendant.                     :
___________________________________              :


         DEFENDANT’S MOTION TO EXTEND TIME TO SELF-SURRENDER

     The defendant, David Mish, respectfully requests that the Court extend the time for him to

self-surrender from January 12, 2022 until April 1, 2022. In support of this motion, the defendant

submits the following:



       1. On November 18, 2021, the Court sentenced Mr. Mish to a sentence of 30 days

           incarceration. See ECF No. 43. In addition, the Court ordered him to pay $500 in

           restitution pursuant to the agreement by the parties. Id. The Court allowed Mr. Mish

           to remain on release and to self-surrender. He has since been advised by United

           States Probation that he must report to a facility in Illinois on January 12, 2022 to

           serve his time.

       2. Mr. Mish is requesting an extension until April 1, 2022, because that is the end of the

           snow-plowing season in Milwaukee. As discussed at sentencing, Mr. Mish relies on a

           few different places of employment to maintain his livelihood. His employment with

           De Luca and Hartman Construction doing snow removal is a substantial source of

           income for Mr. Mish. That employer has provided a letter explaining that Mr. Mish is
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           employed with them through April 1, 2022. See Exhibit 1, Letter from De Luca and

           Hartman.

       3. If Mr. Mish self-surrenders in the middle of the snow removal season, his employer

           will be forced to find a replacement and Mr. Mish will lose income that he relies

           upon.



       For these reasons, Mr. Mish respectfully requests that the Court grant an extension of his

self-surrender until April 1, 2022.


                                            Respectfully submitted,


                                            _________”/s/”_________________
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